12-12020-mg       Doc 3698-19        Filed 05/13/13 Entered 05/13/13 17:08:13                 Section VI
                                        (Part 3) Pg 1 of 40




      As shown in Exhibit VI.C.4.d above, AFI provided support to ResCap through numerous
 secured financings from 2008 to 2012. ResCap was, however, able to regain limited access to
 certain third-party financing sources in 2010. On May 13, 2010, Goldin Associates reported to
 the Independent Directors that banks were considering new financing against residential
 mortgage assets, compared to late 2009 when mortgage lenders were reducing lines of
 credit.401 On May 14, 2010, ResCap entered into two secured financing agreements with
 third-party lenders with initial maximum facility amounts of $300 million each.402 ResCap
 subsequently obtained a $250 million secured financing agreement with BMMZ, a
 wholly-owned subsidiary of AFI, in December 2011.403 That facility replaced secured
 financing agreements with unaffiliated third-party liquidity providers.404

              e. ResCap’s Creditworthiness

      A company’s creditworthiness is analyzed on a recurring basis by rating agencies, trade
 creditors, lenders, bondholders, debt traders, and even regulators in certain industries.
 Accordingly, relevant indicators for evaluating creditworthiness include credit ratings,
 outlooks, and market pricing of debt securities. These indicators provide insight into a
 company’s ability to access the capital markets and associated financing costs.

                 (1) Credit Ratings

       ResCap was assigned an investment grade rating by Moody’s, Fitch, and S&P when it
 entered the credit markets to seek financing in 2005.405 As shown in Exhibit VI.C.4.e(1)
 below, ResCap maintained an investment grade rating with all three credit rating agencies
 until the seizure of global credit markets in August 2007.




 401 GoldinAssociates Presentation to the Committee of Independent Members of the Board of Directors of
    Residential Capital, LLC Regarding the Addition of Certain Assets to the Collateral Package Pledged to
    Secure the December 30, 2009 Line of Credit with Ally Financial Inc., dated May 13, 2010, at
    GOLDIN00131489 [GOLDIN00131468].
 402 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and

    2009, dated Feb. 28, 2011, at 40 [EXAM00123128].
 403 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010, dated Mar. 28, 2012, at 10 [EXAM00122651].
 404 Id.

 405 VICTORIA WAGNER & JOHN K. BARTKO, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL CORP. ASSIGNED

    ‘BBB-/A-3’ RATINGS (Jun. 9, 2005); PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S
    ASSIGNS BAA2 ISSUER RATING TO RESIDENTIAL CAPITAL CORPORATION; RATING OUTLOOK IS NEGATIVE
    (Jun. 9, 2005); CHRISTOPHER D. WOLFE & PHILIP S. WALKER, JR., FITCH, FITCH ASSIGNS ‘BBB’ & ‘F2’
    RATINGS TO RESIDENTIAL CAPITAL CORP. (Jun. 9, 2005)

                                                  VI-91
12-12020-mg   Doc 3698-19   Filed 05/13/13 Entered 05/13/13 17:08:13   Section VI
                               (Part 3) Pg 2 of 40




                                     VI-92
12-12020-mg      Doc 3698-19       Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                      (Part 3) Pg 3 of 40




      Following the seizure of the credit markets, Moody’s and Fitch downgraded the rating of
 ResCap’s senior debt to non-investment grade on August 16, 2007,406 triggering a hundred basis
 point step-up in the interest due under ResCap’s bonds.407 Moody’s indicated that the ratings
 remained under review for possible further downgrade and that its ratings actions reflected:
                [T]he continued, significant funding and valuation volatility in
                the single-family mortgage market, coupled with ResCap’s
                challenges in restructuring its residential financial group, as well
                as an adverse business environment that could create further
                profit pressure at the firm.408
      Moody’s further downgraded ResCap senior debt on November 1, 2007, following the
 release of ResCap’s third-quarter results, its fourth consecutive quarterly loss. Moody’s stated:
                The downgrade and negative outlook reflect the company’s
                significant asset quality issues and potential franchise impairment.
                The non-performing level of ResCap’s held-for-investment
                portfolio is well above its rated peer group across loan types, and
                Moody’s expects elevated provisioning levels for several more
                quarters . . . Additionally, Moody’s has concerns about potential
                franchise impairment at ResCap . . . ‘the current market disruption
                requires ResCap to shift its origination channel, product mix, and
                secondary marketing strategies. The business model that will return
                ResCap to adequate profitability is unclear’ . . . . In regards to
                liquidity, the company is inherently weaker than many of its
                mortgage banking peers due to its focus on secured market funding
                versus retail deposits and Federal Home Loan Bank advances. As a
                result, the company has a very low level of unencumbered assets
                which leave it vulnerable to disruptions in the wholesale
                markets.409
      On November 1, 2007, S&P downgraded ResCap’s senior debt to non-investment grade
 based on unfavorable third-quarter earnings and expectations of continued weak
 profitability.410
 406 PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO BA1, FROM

     BAA3; RATINGS REMAIN ON REVIEW DOWN (Aug. 16, 2007), http://www.moodys.com/research/Moodys-
     downgrades-ResCap-to-Ba1-from-Baa3-ratings-remain-on—PR_139425; MOHAK RAO & PETER SHIMKUS,
     FITCH, FITCH LOWERS COUNTRYWIDE IDR TO ‘BBB+’ & RESCAP TO ‘BB+’ (Aug. 16, 2007).
 407 ResCap Business Update, dated Aug. 21, 2007, at RC00016866 [RC00016856].

 408 PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO BA1, FROM

     BAA3; RATINGS REMAIN ON REVIEW DOWN (Aug. 16, 2007), http://www.moodys.com/research/Moodys-
     downgrades-ResCap-to-Ba1-from-Baa3-ratings-remain-on—PR_139425.
 409 CRAIG A. EMRICK & BRIAN L. HARRIS, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO

     BA3, FROM BA1; OUTLOOK NEGATIVE (Nov. 1, 2007), http://www.moodys.com/research/Moodys-
     downgrades-ResCap-to-Ba3-from-Ba1-outlook-negative—PR_143543.
 410 JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATINGS OFF WATCH NEG,

     LOWERED TO ‘BB+/B’ FROM ‘BBB-/A-3’; OUTLOOK NEG (Nov. 1, 2007).

                                               VI-93
12-12020-mg      Doc 3698-19       Filed 05/13/13 Entered 05/13/13 17:08:13             Section VI
                                      (Part 3) Pg 4 of 40




      ResCap’s credit rating was further downgraded by Moody’s on February 5, 2008. The
 downgrade reflected the decline in ResCap’s liquidity and the risk of its net worth falling
 below its minimum TNW covenant absent parent support, which was not assured. The
 downgrade also reflected Moody’s view of ResCap’s impaired franchise and limited ability to
 gain market share and return to robust profitability.411
      Moody’s downgraded ResCap again on April 23, 2008, following the announcement of the
 resignation of the two Independent Directors, stating that “[t]he absence of independent directors
 increases the likelihood that ResCap will take actions that are negative for creditors.”412
    Following the announcement of a debt exchange offer, ResCap was downgraded by
 Moody’s on to “Ca” (Extremely Speculative) May 2, 2008. Moody’s noted:
                Despite the benefits this exchange could have on ResCap’s ability
                to service its debt, the ratings remain under review for
                downgrade. This is because ResCap has not proven it has a
                business model that can produce the required operating cash flow
                to service and ultimately repay these reduced obligations.413
      S&P also downgraded ResCap to “CC” (Extremely Speculative) on May 2, 2008, noting
 that “if the [debt] exchange fails, Residential Capital LLC might file for bankruptcy
 protection.”414
      Moody’s again downgraded ResCap’s debt rating to “C” (In Default) following AFI’s
 announcement of an exchange offer for certain ResCap debt on November 20, 2008. Moody’s
 noted:
                This transaction illustrates that ResCap cannot produce the
                required cash flow to service and ultimately repay its
                obligations. “It is our opinion that ResCap would not be a going
                concern without support from [AFI]. . . . Each month requires
                additional support from [AFI] to prevent ResCap from violating
                its debt covenants and defaulting on its debt service.”415
 411 ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO B2,

   OUTLOOK NEGATIVE (Feb. 5, 2008), http://www.moodys.com/research/Moodys-downgrades-ResCap-to-B2-
   outlook-negative—PR_148851.
 412 ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO

   CAA1, RATINGS ON REVIEW DOWN (Apr. 23, 2008), http://www.moodys.com/research/Moodys-downgrades-
   ResCap-to-Caa1-ratings-on-review-down—PR_153927.
 413 ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO CA,

   RATING UNDER REVIEW DOWN (May 2, 2008), http://www.moodys.com/research/Moodys-downgrades-
   ResCap-to-Ca-rating-under-review-down—PR_154705.
 414 JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC DOWNGRADED TO ‘CC’;

   STILL ON CREDIT WATCH NEGATIVE (May 2, 2008).
 415 ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO C

   (Nov. 20, 2008), http://www.moodys.com/research/Moodys-downgrades-ResCap-to-C—PR_167799.

                                               VI-94
12-12020-mg         Doc 3698-19      Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                        (Part 3) Pg 5 of 40




      Moody’s and Fitch maintained ResCap at their respective “In Default” grades throughout
 2009.416 S&P upgraded ResCap within the non-investment grade category during 2009.417
 Citing the expected improvement in ResCap’s TNW resulting from the 2009 Bank
 Transaction, S&P raised ResCap’s rating to “CCC” (In Poor Standing) in February 2009
 following AFI’s receipt of TARP funding in December 2008.418 On December 31, 2009,
 Moody’s reported that the $2.7 billion capital infusion from AFI:

                   [A]lthough positive, [was] insufficient to stabilize the company
                   . . . Moody’s considers ResCap’s obligations to be highly
                   speculative as the company has been unprofitable on a quarterly
                   basis for three years, its liquidity position is tenuous, capital
                   insufficient and franchise impaired . . . . [T]he company has
                   significant maturities in the first half of 2010 which it is unable
                   to service with its current liquidity resources while staying
                   compliant with its covenant to maintain liquidity of $750
                   million daily and unrestricted liquidity of $250 million daily.419

      S&P again raised its rating to “B” (Highly Speculative) in January 2010 after the U.S.
 Treasury converted its preferred investment in AFI to common equity, 420 while Moody’s and
 Fitch maintained ResCap at their respective “In Default” grades throughout 2010.

      S&P once again upgraded its rating of ResCap to “B+” (Highly Speculative) on May 4,
 2011, noting improved capital, credit quality, earnings, and liquidity.421 However, S&P
 cautioned that “ResCap’s financial status remains tenuous and its capital slim. Our rating on
 ResCap reflects the funding and capital support [AFI] has provided. Any change in [AFI’s]
 willingness or ability to support ResCap—which we don’t expect—would likely pressure
 ResCap’s rating substantially.”422 Moody’s and Fitch also upgraded ResCap in 2011, with
 Moody’s moving to “Ca” (Extremely Speculative) and Fitch to “B” (Highly Speculative) in




 416 See Exhibit VI.C.4.e(1).

 417 See Exhibit VI.C.4.e(1).

 418 JOHN K. BARTKO ET AL., S&P, RESEARCH UPDATE: GMAC LLC AND RESIDENTIAL CAPITAL LLC RATINGS

    RAISED TO ‘CCC/C’; OUTLOOK NEGATIVE (Feb. 4, 2009).
 419 ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, ANNOUNCEMENT: MOODY’S: ALTHOUGH POSITIVE,
    RESCAP NOT STABILIZED BY GMAC ACTIONS (Dec. 31, 2009), http://www.moodys.com/research/Moodys-
    Although-positive-ResCap-not-stabilized-by-GMAC-actions—PR_192808.
 420 JOHN K. BARTKO & VIKAS JHAVERI, S&P, RESEARCH UPDATE: GMAC INC., RESIDENTIAL CAPITAL LLC

    RATINGS RAISED TO ‘B’ FROM ‘CCC’, OUTLOOK STABLE (Jan. 27, 2010).
 421 BRENDEN BROWN & JOHN K. BARTKO, S&P, RESEARCH UPDATE: ALLY FINANCIAL INC., RESIDENTIAL

    CAPITAL RATING RAISED TO ‘B+’ FROM ‘B’ (May 4, 2011).
 422 Id.



                                                 VI-95
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13       Section VI
                                            (Part 3) Pg 6 of 40




 February 2011.423 The upgrades were short lived; by November 2011, both S&P and Fitch had
 downgraded ResCap once again to “CCC” (In Poor Standing), noting deterioration in year-to-
 date performance.424 All three agencies subsequently downgraded ResCap, to an “In Default”
 rating by the Petition Date.

      As discussed above, ResCap lost its investment credit rating in August 2007 and was
 subsequently rated speculative or highly speculative through the Petition Date. The rating
 actions reflected the significant increase in ResCap’s credit risk throughout this time period.

                   (2) Bond And CDS Pricing

      The credit concerns of the major credit rating agencies were echoed by the broader market
 as indicated by the trading prices of ResCap’s debt. As shown in Exhibit VI.C.4.e(2)—1 below,
 the pricing of ResCap’s 6.5% bond maturing April 17, 2013, which had been trading around par
 since issuance, began to decline in 2007, reaching 67% of par on August 16, 2007, and declined
 further in the following months, falling to 53% of par by November 19, 2007.425




 423 MARC L. WASDEN & ROBERT YOUNG, MOODY’S, RATING ACTION: MOODY’S UPGRADES ALLY FINANCIAL

    SENIOR UNSECURED TO B1, RESCAP TO CA (Feb. 7, 2011), http://www.moodys.com/research/Moodys-
    upgrades-Ally-Financial-senior-unsecured-to-B1-ResCap-to- PR_213605; MOHAK RAO & PETER SHIMKUS,
    FITCH, FITCH UPGRADES RESCAP’S IDR TO ‘B’; OUTLOOK STABLE (Feb. 3, 2011).
 424 BRENDAN BROWNE & JOHN K. BARTKO, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL LLC RATING

    LOWERED TO ‘CCC’ AND PLACED ON CREDITWATCH NEGATIVE (Nov. 10, 2011); MOHAK RAO & JUSTIN
    FULLER, FITCH, FITCH DOWNGRADES RESCAP’S IDR TO ‘CCC’ (Nov. 11, 2011).
 425 Pricing per Interactive Data Corporation.



                                                  VI-96
12-12020-mg         Doc 3698-19       Filed 05/13/13 Entered 05/13/13 17:08:13             Section VI
                                         (Part 3) Pg 7 of 40




     The price of five-year CDS on ResCap secured debt increased from 141 bps on May 31,
2007 to 1,372 bps on August 21, 2007, signaling significant financial distress.426 The price
increased to 3,021 bps by November 20, 2007, meaning a buyer of protection against a ResCap
default would need to pay over 30% of the face amount being protected. At that time, CDS
protection on ResCap became more expensive than similar protection on its peers. The CDS
spread on Countrywide, which had also been downgraded in August 2007, increased to 265 bps
price in August, while the spread for WaMu CDS increased to 120 bps.427 As shown in Exhibit
VI.C.4.e(2)—2 below, the market prices for ResCap’s credit default swaps indicated the
market’s decreasing confidence in the adequacy of ResCap’s capitalization and ability to perform
on its obligations as they matured.




426 Pricing per Advantage Data Inc.

427 GMAC Bank “Counterparty Exposure Review: ResCap” Presentation, dated Oct. 2007, at ALLY _PEO_0006067

   [ALLY_PEO_0005941].

                                                 VI-97
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13          Section VI
                                            (Part 3) Pg 8 of 40




     ResCap initiated a tender offer to repurchase up to $750 million of certain of its senior
unsecured notes on November 21, 2007. The purchase of those notes at a discount was intended to
“increase ResCap’s income in the fourth quarter of 2007 and its consolidated [TNW] as of the end
of the year above the levels that would have occurred in the absence of acquiring notes pursuant to
the tender offer.”428 Pricing on ResCap’s 6.115% bond due in 2009 improved “to 69.63 cents on
the dollar . . . from 60.25 cents”429 following the announcement of its tender offer. However,
analysts were “wary of the lowest dollar/longest maturity bonds because [they] believe[d] Cerberus
[would] only put a finite amount of time/additional capital to turn around ResCap” and “the risk of
ResCap sliding into bankruptcy remain[ed].”430 ResCap’s bondholders tendered $389 million of
ResCap’s outstanding unsecured debt and in December 2007 ResCap recognized $152 million of
income on extinguishment of debt pursuant to the tender offer.431


428 Residential Capital, LLC, Current Report (Form 8-K) (Nov. 21, 2007), Ex. 99.1, at 2.

429 Karen  Brettell, US CREDIT–ResCap Debt Improved, Cerberus Support Key, REUTERS, Nov. 27, 2007,
   http://www.reuters.com/article/2007/11/27/markets-credit-idUSN2756015020071127.
430 Id.

431 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 58, 79.



                                                      VI-98
12-12020-mg       Doc 3698-19       Filed 05/13/13 Entered 05/13/13 17:08:13                  Section VI
                                       (Part 3) Pg 9 of 40




      It was publicly reported in December 2007 that by mid-November, the purchase of five-
 year default insurance on ResCap bonds “cost more than 40 points up front and 500 basis
 points per year,” which meant “buying protection on $10 million of ResCap bonds cost more
 than $4 million up front plus $500,000 per year.”432 The five-year CDS spread on ResCap’s
 secured debt increased significantly in 2008, indicating a further increase in default risk.
 ResCap’s spreads reached 15,372 bps in November 2008, which mirrored the decline in its
 bond pricing and signaled an expected bankruptcy. According to a market analyst: “ResCap’s
 credit default swaps have been trading at levels that indicate investors have been expecting
 bankruptcy since the fall of 2007.”433 Similarly, the pricing of ResCap’s 6.5% bond maturing
 in 2013 continued to decline in 2008, decreasing to 40% of par on June 27, 2008, and then
 declining further to 9% of par on November 25, 2008.

       The pricing of ResCap’s 6.5% bond maturing in 2013 increased significantly during the
 first half of 2009, from 20 on January 5, 2009, to 70 on May 22, 2009. As previously
 discussed in Section VI.B, the market prices of ResCap’s publicly traded securities post TARP
 no longer reflected the economic fundamentals of ResCap’s business. This anomaly became
 even clearer in January 2010, after AFI disclosed that it had received an additional $3.8 billion
 from the U.S. Treasury and that AFI would contribute $2.7 billion to ResCap:

                 The cost of insuring ResCap’s debt in the credit default swap
                 market [p]lunged to a spread equivalent of around 887 basis
                 points, or $887,000 per year for five years to insure $10 million
                 in debt, from more than 2,200 basis points, indicating
                 significantly lower expectations of a default, according to
                 Markit Intraday. ResCap’s 8.375 percent bond due 2010 jumped
                 to 94 cents on the dollar from 61 cents in mid-December, when
                 it was last actively traded, according to MarketAxess.434




 432 MICHAEL LEWITT, THE WAGES OF FINANCIAL SIN (undated), reprinted in John Mauldin, Credit Crunch

    Withdrawal of Capital as General Motors and Freddie Mac Stare into the Abyss, THE MARKET ORACLE,
    Dec. 4, 2007, http://www.marketoracle.co.uk/Article2975.html.
 433 Cynthia   Koons, ResCap Bonds Command Pricey Insurance,          WALL    ST.   J.,   Aug. 2,   2008,
    http://online.wsj.com/article/SB121759683223604485.html.
 434 Karen  Brettell, US Credit–ResCap Rallies on Capital Support, Risks Remain, REUTERS, Jan. 4, 2010,
    http://www.reuters.com/article/2010/01/04/markets-credit-idUSN0457155120100104.

                                                 VI-99
12-12020-mg      Doc 3698-19      Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                    (Part 3) Pg 10 of 40




      Although the distressed debt trading market may have interpreted the U.S. Treasury
 support and AFI capital contribution as a sign of stability for ResCap, certain analysts
 expressed concern:

                Moody’s Investors Service said [t]hat the capital injection, while
                positive for ResCap, would not be sufficient to stabilize the
                company. The rating agency also cited the risk of further
                deterioration in the company’s mortgage securities remains and
                that government support for the unit could ebb. ‘Should parental
                support be discontinued, we believe ResCap would eventually
                default on its obligations and unsecured creditors would face
                substantial losses,’ Moody’s said.435

            f. Other Considerations

                (1) ResCap’s Operating Cash Flow

      Operating cash flow is a measure of a company’s ability to generate cash from operating
 its business, as opposed to cash from financing or investing activities. The analysis of
 operating cash flow measures a company’s ability to generate cash to meet its debt service
 obligations and reinvest in its operations. The analysis of operating cash flow also necessarily
 includes testing a company’s ability to weather reasonably foreseeable downsides, stresses,
 and contingencies.

      ResCap developed a liquidity reporting process in December 2007 which was referred to
 as Executive Liquidity Reports (“ELRs”). The ELRs, which were issued weekly through 2010
 and monthly thereafter, provided projections of cash flows for the subsequent twelve months.
 Each of the ELRs, prepared at or around the end of each quarter from December 2007 through
 March 2010, projected substantial negative cash flows over the subsequent twelve month
 projection period. Further, the ELRs indicated that ResCap’s projected operating cash flows
 were insufficient to service its debt obligations after December 2007, as shown in
 Exhibits VI.C.4.f(1)—1 and VI.C.4.f(1)—2 below.




 435 Id.



                                             VI-100
12-12020-mg   Doc 3698-19   Filed 05/13/13 Entered 05/13/13 17:08:13   Section VI
                              (Part 3) Pg 11 of 40




                                     VI-101
12-12020-mg       Doc 3698-19       Filed 05/13/13 Entered 05/13/13 17:08:13               Section VI
                                      (Part 3) Pg 12 of 40




                (2) ResCap’s Projections

     A central component of evaluating adequacy of capital and the viability of a business is an
analysis of contemporaneous financial projections, including an assessment of the purpose for
such projections and whether such projections were “reasonable and prudent” when made.436
Such projections must be carefully scrutinized and evaluated in light of prior company
performance, existing business, industry and economic trends, and reasonably foreseeable
downsides, stresses, and contingencies.




436 Statutory
            Comm. of Unsecured Creditors ex rel. Iridium Operating LLC v. Motorola, Inc. (In re Iridium
   Operating LLC), 373 B.R. 283, 345 (Bankr. S.D.N.Y. 2007) (citation omitted).

                                                VI-102
12-12020-mg           Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13           Section VI
                                             (Part 3) Pg 13 of 40




     ResCap’s ability to prepare reliable financial projections diminished after 2006 because of
the rapid deterioration within its businesses, the concomitant deterioration within the mortgage
industry, and global economy, among other causes. This is evident in the significant variance
between ResCap’s actual results as compared to its financial projections, as summarized in
Exhibit VI.C.4.f(2)—1 below.




      In addition to the external factors affecting ResCap’s ability to prepare reliable financial
projections, ResCap had internal limitations as noted by David Applegate, ResCap’s co-CEO, in
January 2007 when he expressed “low confidence in [ResCap’s] ability to predict HFI non-prime
performance” because ResCap did not have “good tools” and “non-prime [HFI] and [MSRs] are
difficult to forecast.”437 Flees, ResCap’s controller and chief accounting officer, stated that the
industry’s historical models “were failing to predict what was going on.”438

      ResCap projected net income of $1.015 billion for 2007 in its 2007 Plan.439 The net income
projected for 2007 was virtually identical to the net income that ResCap had achieved in 2005
of $1.021 billion, prior to the downturn in the mortgage industry. As shown in
Exhibit VI.C.4.f.(2)-2, despite ResCap having incurred a loss of $233 million in 2006, excluding
the $415 million gain on sale of equity investments and $523 million gain on conversion to LLC,
its 2007 Plan predicted a return its 2005 levels of performance in 2007. Further, ResCap’s 2007
Plan projected continued growth in net income from 2007 through 2009, irrespective of the




437 E-mail from D. Applegate (Jan. 27, 2007), at EXAM10163217 [EXAM10163216].

438 Int. of R. Flees, Jan. 18, 2013, at 92:12–93:4.

439 ResCap 2007–2009 Operating Plan Review, dated Dec. 2006, at RC40012385 [RC40012214] (“2007 Plan”).



                                                      VI-103
12-12020-mg         Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VI
                                          (Part 3) Pg 14 of 40




explicit assumption that the mortgage industry was in the midst of a significant downturn.440
ResCap’s 2007 Plan was not sufficiently grounded in recent events occurring within the
Company or the industry. ResCap ultimately reported a net loss of $4.3 billion for 2007 (as
compared to plan of $1.015 billion net income) as the downturn in the mortgage industry
accelerated throughout the year.441




     ResCap’s 2008 Plan442 assumed risk reduction and shrinkage of ResCap’s balance
sheet through asset disposition and run-off to manage income statement volatility, limitation




440 The 2007 Plan included an updated assessment of the market which reflected continued weakness in the
   mortgage industry for 2007 and only modest improvement in 2008. The 2007 Plan made specific reference to the
   rapid downturn in median home prices which occurred in 2006 and the implications for future delinquencies. The
   2007 Plan noted that the housing market was cooling, that there was going to be an increase in 2007
   delinquencies, and that margins would continue to fall. Id. at RC40012380, RC40012384.
441 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 56.

442 ResCapGlobal Debt Restructuring Due Diligence Presentation, dated Mar. 13, 2008, at RC40007365
   [RC40007361] (“2008 Plan”).

                                                     VI-104
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                           (Part 3) Pg 15 of 40




of U.S. loan production to assets with market liquidity, and limitation of international production
to assets with known exit strategies.443 A net loss of $1.7 billion was projected for 2008, as
compared to the actual net loss of $4.3 billion in 2007.444 The 2008 Plan assumed “modest
market improvement in late 2009 and into 2010,”445 resulting in projected net income of $34
million for 2009, and $296 million for 2010.446

      However, ResCap’s ELRs issued in 2008 indicated that ResCap was downwardly revising
its cash flow forecasts as the year progressed, as shown in Exhibit VI.C.4.f(2)—3 below. ELRs
issued at or around each quarter end indicated that ResCap had difficulty providing reasonable
forecasts of its cash flows on a quarterly basis. The ELR prepared as of March 31, 2008
forecasted operating cash flow of $9 million for the second quarter of 2008, compared to
approximately $1.7 billion that had been forecasted for the same period in the ELR prepared just
ninety days earlier. Further, the forecasted operating cash flow for the second half of 2008, as
prepared on March 31, 2008, was almost identical to that projected as of December 31, 2007,
notwithstanding the forecasted 99.5% reduction in operating cash flow for the second quarter of
2008.




443 Id. at RC40007386.

444 Compare ResCap Global Debt Restructuring Due Diligence Presentation, dated Mar. 13, 2008, at RC40007389

   [RC40007361] (“2008 Plan”), with Residential Capital, LLC, Current Report (Form 8-K) (Feb. 5, 2008), Ex.
   99.1, at 1 (noting AFI contribution to ResCap of $1.5 billion (face value) of ResCap’s debt purchased in the open
   market, and ResCap recognition of a gain of $521 million on debt extinguishment in the fourth quarter of 2007;
   ResCap’s operating loss for 2007 would have been $4.9 billion excluding the gain on debt extinguishment).
445 ResCapGlobal Debt Restructuring Due Diligence Presentation, dated Mar. 13, 2008, at RC40007386
   [RC40007361].
446 Id. at RC40007389.



                                                     VI-105
12-12020-mg         Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                 Section VI
                                          (Part 3) Pg 16 of 40




      ResCap incurred an actual net loss of $5.6 billion in 2008, compared to the projected loss
 of $1.7 billion in the 2008 Plan.447 Excluding gains on debt extinguishment, ResCap’s
 operating loss for 2008 was $7.5 billion.448

       ResCap projected a loss of $1.1 billion for 2009 in its 2009 Plan,449 after incurring losses
 of $7.5 billion in 2008 and losses of $4.9 billion in 2007, excluding gains on debt
 extinguishment.450 ResCap’s 2009 Plan focused on “leveraging ResCap’s capital market
 expertise and winding down [its] non-core businesses” after the sale of ResCap’s interest in
 Ally Bank and ResMor.451 In 2009, ResCap continued to assume recovery in its financial
 performance that was not reasonably supported by its actual results in prior periods or by its
 prior performance against previous financial projections. ResCap’s financial performance in
 2009 continued to be negatively affected by distressed conditions in the mortgage industry,
 which led to higher credit related costs and losses from disposition of its international assets.
 ResCap incurred a net loss of $4.5 billion in 2009, compared to the projected loss of $1.1
 billion in the 2009 Plan.452 ResCap’s actual operating loss for 2009 was $6.3 billion, excluding
 gains on debt extinguishment.453

      The overall economy became more stable in 2010 compared to 2009, as several measures
 of economic activity showed positive trends. Mortgage rates had fallen to historic lows in
 2009. These historic lows benefitted homeowners and homebuyers, if not necessarily the
 business of mortgage servicing. The FRB cut its target funds rate to near zero, reaching 0.01%




 447 Compare Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119, with 2008 Plan, at

    RC40007389.
 448 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.

 449 ResCap 2009 Business Plan Review, dated Mar. 26, 2009, at EXAM00295545 [EXAM00295529] (“2009

    Plan”).
 450 See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.

 451 ResCap 2009 Business Plan Review, dated Mar. 26, 2009, at EXAM00295530 [EXAM00295529].

 452 Compare Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31,

    2009 and 2008, dated Feb. 26, 2010, at 5 [EXAM00124455], with ResCap 2009 Business Plan Review, dated
    Mar. 26, 2009, at EXAM00295545 [EXAM00295529].
 453 See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and

    2008, dated Feb. 26, 2010, at 5 [EXAM00124455].

                                                    VI-106
12-12020-mg         Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VI
                                          (Part 3) Pg 17 of 40




 in December 2009.454 The yield curve, which had inverted in 2006 and 2007 when short-term
 interest rates exceeded long-term rates, had normalized as the FRB held short-term rates
 low.455 Marano stated that he believed the mortgage and capital markets business to be “a very
 good opportunity in 2010.”456 ResCap reported net income of $575 million for 2010,
 compared to its plan of $367 million.457

      ResCap projected net income of $311 million for 2011 in its 2011 Plan.458 The 2011 Plan
 projected lower net revenue and net income for 2011 than the 2010 Plan as a result of lower
 production and margins.459 ResCap’s financial performance turned down again in 2011,
 resulting in a net loss of $845 million,460 primarily because of losses on the valuation and
 hedging of its servicing assets, additional reserves for representation and warranty expenses,
 and mortgage-related fines levied by government agencies.

                  (3) ResCap’s Leverage

      An analysis of capital adequacy should also consider the degree to which leverage is used
 in a company’s capital structure and business plan. Highly leveraged companies will likely
 have greater exposure to losses in downside environments and will have fewer capital
 resources, such as unencumbered assets and excess borrowing capacity, to obtain needed
 funds.
 454 The FRB Federal Open Market Committee stated in part:


         The Committee will maintain the target range for the federal funds rate at 0 to 1/4 percent and
         continues to anticipate that economic conditions, including low rates of resource utilization,
         subdued inflation trends, and stable inflation expectations, are likely to warrant exceptionally
         low levels of the federal funds rate for an extended period. To provide support to mortgage
         lending and housing markets and to improve overall conditions in private credit markets, the
         Federal Reserve is in the process of purchasing $1.25 trillion of agency mortgage-backed
         securities and about $175 billion of agency debt. In order to promote a smooth transition in
         markets, the Committee is gradually slowing the pace of these purchases, and it anticipates that
         these transactions will be executed by the end of the first quarter of 2010. The Committee will
         continue to evaluate the timing and overall amounts of its purchases of securities in light of the
         evolving economic outlook and conditions in financial markets.
    Press Release, FRB, Untitled Fed. Open Market Comm.                          Statement    (Dec.    16,    2009),
    http://www.federalreserve.gov/newsevents/press/monetary/20091216a.htm.
 455 Larry Kudlow, The Yield Curve Is Signaling Bigger Growth (Dec. 22, 2009), http://www.creators.com/opinion/

    lawrence-kudlow/the-yield-curve-is-signaling-bigger-growth.html.
 456 Int. of T. Marano, Nov. 26, 2012, at 71:23–72:18.

 457 Compare Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31,

    2010 and 2009, dated Feb. 28, 2011, at 5 [EXAM00123128], with ResCap Preliminary 2010–2012 Business
    Plan, dated Mar. 19, 2010, at RC40015782 [RC40015763] (“2010 Plan”).
 458 ResCapPreliminary 2011–2013 Business Plan, dated Dec. 22, 2010, at RC40017182, RC40017189
    [RC40017167] (“2011 Plan”).
 459 Id. at RC40017189.

 460 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010, dated Mar. 28, 2012, at 5 [EXAM00122651].

                                                     VI-107
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                           (Part 3) Pg 18 of 40




      ResCap entered the 2006 industry downturn in a highly-leveraged position. ResCap
 incurred significant losses as it reduced its business and equity base to a fraction of its 2005
 levels as the industry downturn progressed. ResCap’s reported equity as of December 31,
 2011 was only 1.2% of its December 31, 2005 balance.461 ResCap was unable to service its
 fixed charges, primarily interest expense, with its operating income in 2006 through 2009, and
 again in 2011.462

      Leverage can be measured by analyzing various financial ratios. The following financial
 ratios were calculated and analyzed for the period of 2005 to 2011 to evaluate ResCap’s
 leverage: (1) debt to capitalization (book value)—interest bearing debt divided by the sum of
 interest bearing debt and book value of equity; and (2) fixed charge ratio—earnings before
 taxes and interest divided by interest expense.

                       (a) Debt To Capitalization (Book Value)

      The debt-to-capitalization ratio is a financial measure of leverage that evaluates the
 proportion of invested capital funded by debt relative to the total capitalization of a company.
 As shown in Exhibit VI.C.4.f(3)(a) below, ResCap was highly leveraged from its inception,
 with debt representing 93% of its total capitalization. ResCap’s declining equity base resulted
 in further deterioration of this ratio after 2007, except in 2010 when ResCap’s financial
 position improved briefly.




 461 Compare  Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 94, with
    Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and
    2010, dated Mar. 28, 2012, at 4 [EXAM00122651].
 462 See Section VI.C.4.f(3)(b) (discussing ResCap’s fixed charge ratio).



                                                      VI-108
12-12020-mg      Doc 3698-19      Filed 05/13/13 Entered 05/13/13 17:08:13          Section VI
                                    (Part 3) Pg 19 of 40




                  (b) Fixed Charge Ratio

    The fixed charge ratio compares an entity’s earnings before tax and interest to its interest
expense. This ratio is a measure of whether a company is able to service its fixed obligations—
primarily financing expenses—with its operating income.

     ResCap’s reported net income included one-time items such as gains from sale of equity
investments, gains on debt extinguishment, gains on its conversion to an LLC, and goodwill
impairment, all of which were excluded for purposes of an analysis of ResCap’s fixed charge
ratio for the period of 2005 through 2011. As shown in Exhibits VI.C.4.f(3)(b)—1 and
VI.C.4.f(3)(b)—2 below, ResCap had insufficient operating income to cover its fixed charges in
2006 and 2007. In 2008 and 2009, ResCap’s fixed charge ratio turned negative as ResCap
incurred operating losses before interest expense during those years. ResCap recorded an
operating profit in 2010, primarily due to an increase in net revenues from servicing asset
valuation and hedge activities, and a decrease in representation and warranty-related expenses.
This resulted in improved fixed charge coverage for 2010. The improved fixed charge coverage
reversed in 2011, when ResCap again incurred operating losses before interest expense.




                                            VI-109
12-12020-mg   Doc 3698-19   Filed 05/13/13 Entered 05/13/13 17:08:13   Section VI
                              (Part 3) Pg 20 of 40




                                     VI-110
12-12020-mg       Doc 3698-19       Filed 05/13/13 Entered 05/13/13 17:08:13              Section VI
                                      (Part 3) Pg 21 of 40




      Taken together, these ratios show that ResCap was highly leveraged at all relevant times.
This leverage increased ResCap’s operational risk, restricted its flexibility, and limited its ability
to weather economic downturns, all of which became evident in the Summer of 2007 through the
Petition Date.

               (4) ResCap’s Financial Support Received From AFI

                   (a) Summary

      AFI’s financial support was critical to ResCap’s survival from 2007 through 2011.
Recognizing that ResCap’s risk profile had worsened with the decline in the residential mortgage
industry in 2007 and 2008, AFI engaged in an ongoing process of infusing capital and/or
liquidity into ResCap to avoid imminent covenant or payment defaults. Such infusions were
insufficient, however, to address ResCap’s chronic undercapitalization that commenced on or
about August 15, 2007, and continued through the Petition Date. Instead, the evidence indicates
that those capital infusions were defensive in nature, not only forestalling a potential bankruptcy
filing by ResCap, but also protecting AFI from the consequences of such a filing. These
consequences included potential cross defaults across various AFI credit agreements that could,
in turn, have resulted in the bankruptcy of AFI, the potential for federal regulators to seize Ally
Bank or ResCap’s interest therein, and the potential for the GSEs to terminate servicing contracts
with ResCap.

                                               VI-111
12-12020-mg         Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                          (Part 3) Pg 22 of 40




                       (b) Capital Support

       The capital support received from AFI over the relevant time period is particularly
 relevant (although not determinative) to the Examiner’s evaluation of ResCap’s capitalization.
 AFI infused more than $8 billion in capital into ResCap from 2007 through 2012 in the form
 of $2.6 billion in direct contributions of cash, $3.8 billion in debt forgiveness, and $2 billion in
 other assets. Generally, AFI’s contributions of cash to ResCap were made in an effort to
 address imminent liquidity needs, whereas contributions of debt were made to address
 impending covenant issues. The nature of the contributions made by AFI to ResCap is
 therefore both informative as to, and symptomatic of, ResCap’s larger capitalization issues at
 the time of such contribution.

       That ResCap was subject to financial covenants under certain of its credit facilities is
 important in an analysis of ResCap’s capitalization and leverage. Before June 2008, the most
 restrictive covenant required that ResCap maintain quarterly minimum consolidated TNW of
 $5.4 billion.463 Following the June 2008 debt restructuring, ResCap was subject to new
 financial covenants that included a monthly minimum consolidated TNW requirement of $250
 million (excluding the equity ResCap held in Ally Bank), minimum daily consolidated
 liquidity of $750 million, and unrestricted liquidity of $250 million.464

      ResCap relied upon capital contributions from AFI to meet its TNW covenants
 throughout the period from 2007 to 2009. These capital contributions supported ResCap’s
 TNW (equity) and reduced ResCap’s outstanding debt. This, in turn, had a direct impact on
 compliance with various capitalization and leverage requirements during this period. Capital
 contributions from AFI during 2005 to 2011 are shown in Exhibit VI.C.4.f(4)(b)—1 below.




 463 Under GAAP, consolidated tangible net worth is defined as consolidated net worth less intangible assets.

 464 Secured Revolver Loan Agreement



                                                     VI-112
12-12020-mg   Doc 3698-19   Filed 05/13/13 Entered 05/13/13 17:08:13   Section VI
                              (Part 3) Pg 23 of 40




                                     VI-113
12-12020-mg   Doc 3698-19   Filed 05/13/13 Entered 05/13/13 17:08:13   Section VI
                              (Part 3) Pg 24 of 40




                                     VI-114
12-12020-mg          Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13    Section VI
                                           (Part 3) Pg 25 of 40




                      (c) Asset Sales

      AFI and Cerberus acted as primary sources of needed liquidity for ResCap by purchasing
certain ResCap non-core assets at various times. ResCap undertook a series of transactions to
monetize assets to fund imminent financial needs beginning in August 2007, with the sale of
Health Capital to GMAC CF. The majority of those transactions were facilitated by AFI, through
affiliated entities. Those transactions included the following:




    Other than the transactions listed above with AFI or Cerberus, ResCap was unable to
monetize other material unencumbered assets to fund its liquidity needs.465

                  (5) AFI’s Receipt Of TARP Funds

      AFI’s receipt of TARP funds proved to be a seminal event in the history of both AFI and
ResCap. As discussed previously, AFI received its initial payment from TARP on December 28,
2008, averting a planned bankruptcy filing by ResCap around that time. A potential bankruptcy
filing for ResCap in the latter half of 2008 was thoroughly planned and appeared imminent
absent continued support from AFI. Further, AFI’s continued support of ResCap without TARP
funds was highly doubtful because of AFI’s own financial difficulties during the global financial
crisis in 2008.
465 See Int. of W. Casey, Jan. 31, 2013, at 181:10–182:16.



                                                      VI-115
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                           (Part 3) Pg 26 of 40




      AFI’s receipt of TARP funds enabled ResCap to continue operations, although by that
 time ResCap’s business model had largely changed from that of a mortgage originator and
 servicer to that of a mortgage broker and servicer. However, as described above, any such
 support was insufficient to restore ResCap’s capitalization to a point where one could
 reasonably conclude the business was adequately capitalized. Indeed, following the receipt of
 TARP funds, AFI increasingly viewed ResCap as a substantial burden, resulting in the
 exploration of various options for the sale or liquidation of all or parts of ResCap’s
 business.466

 D. ABILITY TO PAY DEBTS AS DUE

     1. Introduction

      The third disjunctive test for financial distress focuses on a debtor’s intent or belief that it
 is or will be unable to pay its debts as they become due, a condition often referred to as
 “equitable insolvency.”467 This subsection addresses whether ResCap intended or believed that
 it was or would become unable to pay its debts as they became due, as that phrase is
 understood under the Bankruptcy Code, the UFCA, and the UFTA, for the period from 2005
 through the Petition Date.

       Like many other features of applicable fraudulent transfer law, the equitable insolvency
 test, particularly the intent element, is not defined or self-evident. Moreover, the “intent or
 belief” language is different in the UFTA than in the Bankruptcy Code or UFCA. The
 Bankruptcy Code asks whether the debtor “intended to incur, or believed that the debtor
 would incur, debts that would be beyond the debtor’s ability to pay as such debts matured.”468
 The UFCA, as enacted in New York, uses virtually the same language.469 Both the Bankruptcy
 Code and the UFCA appear to require a determination of the debtor-transferor’s subjective


 466 See Int. of M. Carpenter, Mar. 4, 2013, at 42:9–44:7, 51:5–52:1.

 467 MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 943 (S.D.N.Y.

    1995) (citation omitted).
 468 11 U.S.C. § 548(a)(1)(B)(ii)(III). The “to incur” and “would incur” language of the statute suggests a purely

    forward-looking inquiry. However, the Examiner is unaware of any case in which a court limited its inquiry to
    whether a debtor believed, as of the date of the challenged transfer, that its future incurrence of debt would
    render the debtor unable to pay those future debts as they mature. The only court that the Examiner is aware
    of that has squarely faced this argument elided the issue. See Heller Ehrman LLP v. Jones Day (In re Heller
    Ehrman LLP), No. 08-32514DM, 2013 WL 951706, at *7 (Bankr. N.D. Cal. Mar. 11, 2013) (“Orrick argues
    that the so-called ‘intent or belief’ test of those sections only looks forward to determine whether a debtor
    could pay debts incurred after the transfer. Intending to pay or paying future debt in full while making no or
    partial payments on existing debt is incurring debt beyond the debtor’s ability to pay, whether a subjective or
    objective test of intent or belief is applied.”).
 469 N.Y. DEBT. & CRED. LAW § 275 (“Every conveyance made and every obligation incurred without fair
    consideration when the person making the conveyance or entering into the obligation intends or believes that
    he will incur debts beyond his ability to pay as they mature, is fraudulent as to both present and future
    creditors.”).

                                                      VI-116
12-12020-mg          Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VI
                                            (Part 3) Pg 27 of 40




 intent or belief.470 Nevertheless, courts generally permit reasonable inferences regarding a
 debtor’s subjective intent to be drawn from objective facts, which blurs the distinction
 between subjective and objective inquiry.471 In contrast, the UFTA explicitly permits an
 objective inquiry (in addition to a subjective inquiry), asking whether the debtor “[i]ntended to
 incur, or believed or reasonably should have believed that [it] would incur, debts beyond [its]
 ability to pay as they became due.”472

       As discussed in Section VII.F, the Examiner has concluded that the Bankruptcy Court will
 likely apply Pennsylvania, Minnesota, or possibly (with respect to certain fraudulent transfer
 claims arising from tax transactions) Delaware law to constructive fraudulent transfer claims
 brought under section 544 of the Bankruptcy Code.473 Minnesota, Pennsylvania, and Delaware
 have adopted the UFTA’s standard equitable insolvency test.474 Accordingly, the Examiner has
 analyzed the transactions at issue under both the objective and subjective standards.




 470 Tese-Milner v. Edidin & Assocs. (In re Operations N.Y. LLC), No. 10-13446, 2013 WL 1187879, at *9 (Bankr.

    S.D.N.Y. Mar. 21, 2013) (“[T]he ‘ability to pay’ financial test requires proof of the transferor’s subjective intent
    or belief that it will incur debt it cannot pay at maturity.”) (citing MFS/Sun Life Trust, 910 F. Supp. at 943); WRT
    Creditors Liquidation Trust v. WRT Bankr. Litig. Master File Defendants (In re WRT Energy Corp.), 282 B.R.
    343, 415 (Bankr. W.D. La. 2001) (observing that “the statute suggests a standard based on subjective intent”); In
    re Taubman, 160 B.R. 964, 986 (Bankr. S.D. Ohio 1993) (“This prong of § 548(a)(2)(A)–(B) requires the court
    to undergo a subjective, rather than an objective, inquiry into a party’s intent.”).
 471 See, e.g., ASARCO LLC v. Ams. Mining Corp., 396 B.R. 278, 399 (S.D. Tex. 2008) (“Intent may be inferred

    from the facts and circumstances surrounding the transaction.”) (citation omitted); Official Comm. of
    Unsecured Creditors of TOUSA, Inc. v. Citicorp N. Am., Inc. (In re TOUSA, Inc.), 422 B.R. 783, 862–63 (Bankr.
    S.D. Fla. 2009) (“The ‘inability to pay debts’ prong of section 548 is met if it can be shown that the debtor made
    the transfer or incurred an obligation contemporaneous with an intent or belief that subsequent creditors likely
    would not be paid as their claims matured. While the statute suggests a standard based on subjective intent, the
    courts have held that the intent requirement can be inferred where the facts and circumstances surrounding the
    transaction show that the debtor could not have reasonably believed that it would be able to pay its debts as they
    matured . . . .”) (quoting In re WRT Energy Corp., 282 B.R. at 415 (citations omitted)), aff’d in relevant part sub
    nom. Senior Transeastern Lenders v. Official Comm. of Unsecured Creditors (In re TOUSA, Inc.), 680 F.3d
    1298 (11th Cir. 2012); In re Taubman, 160 B.R. at 986 (“The record is silent as to any expressed intention or
    belief by the Debtor to incur debts beyond her ability to pay; however, the record does offer facts and
    circumstances from which such an intention may be found.”) (citing Yoder v. T.E.L. Leasing, Inc. (In re
    Suburban Motor Freight, Inc.), 124 B.R. 984, 1000 n.14 (Bankr. S.D. Ohio 1990).
 472 UFTA § 4(a)(2)(ii) (emphasis added).

 473 The Examiner’s choice of law analysis indicates that the jurisdictions whose substantive fraudulent transfer

    law would likely be applied by a New York federal or state court with respect to the transactions covered by
    this Report are Minnesota (as to most transfers by ResCap and RFC), Pennsylvania (as to transfers by GMAC
    Mortgage) or possibly Delaware (as to certain tax-related transfers by ResCap). That analysis is set forth in
    Section VII.F.
 474 SeeMINN. STAT. § 513.44(a)(2)(ii); 12 PA. CONS. STAT. § 5104(a)(2)(ii); 6 DEL. CODE ANN. tit. 6
    § 1304(a)(2)(b).

                                                        VI-117
12-12020-mg        Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                         (Part 3) Pg 28 of 40




     2. Conceptual Framework

      A debtor’s contemporaneous subjective belief that it is or will be unable to pay its debts
 as they become due satisfies the financial distress requirement of all three fraudulent transfer
 statutes. This issue is not often litigated because of the difficulty of proof arising from the
 subjective intent requirement.475 However, most courts have permitted proof of subjective
 intent through reasonable inferences drawn from facts and circumstances surrounding the
 transfer made or obligation incurred.476 These factors include a debtor’s contemporaneous
 cash flow projections prepared by management, payment history and practices during the
 relevant time period; short pays on invoices, holds on checks to vendors; past due accounts,
 demand letters and other collection efforts against the debtor, and liquidity and leverage issues
 similar to those analyzed under the unreasonably small capital test.477

      For example, a debtor’s cash flow projections developed contemporaneously with a
 challenged transfer generally form the starting point for testing its ability to pay debts as they
 become due. The key to unlocking intent from a debtor’s cash flow projections is to assess the
 reasonableness of the projections over a relevant period based on information known or
 knowable as of the transfer date.478 The relevant period will depend on the amount and term of
 the debts that a debtor carries and the timing of its projected cash flows. Thus, the debt that is




 475 Yoder v. T.E.L. Leasing, Inc. (In re Suburban Motor Freight, Inc.), 124 B.R. 984, 1000 n.14 (Bankr. S.D.

    Ohio 1990) (“There are few rulings on this particular prong of § 548(a)(2)(A)–(B), and it is rarely used by
    parties seeking to avoid a transfer as it appears to require the courts to undergo a subjective, rather than
    objective, inquiry into a party’s intent.”) (citation omitted).
 476 See, e.g., WRT Creditors Liquidation Trust v. WRT Bankr. Litig. Master File Defendants (In re WRT Energy

    Corp.), 282 B.R. 343, 415 (Bankr. W.D. La. 2001) (“While the statute suggests a standard based on subjective
    intent, the courts have held that the intent requirement can be inferred where the facts and circumstances
    surrounding the transaction show that the debtor could not have reasonably believed that it would be able to
    pay its debts as they matured.”).
 477 See, e.g., ASARCO LLC v. Ams. Mining Corp., 396 B.R. 278, 399–400 (S.D. Tex. 2008) (“In March 2002, Jim

    O’Neil, then ASARCO’s Vice President of Finance testified that ASARCO had $138 million in past-due
    debts at the end of 2001 and that ASARCO was not able to pay those debts. At this time, ASARCO was in
    arrears to most of its vendors and was generally not paying its debts as they became due . . . . [ASARCO’s
    treasurer] testified that perhaps thousands of vendors, service providers, and other creditors were having
    trouble getting paid in early 2003. ASARCO’s past due and liquidated asbestos obligations exceeded $13.7
    million in early March 2003, and ASARCO was in arrears with its own defense lawyers for over $3 million.
    The strongest evidence of ASARCO’s belief that it was unable to pay its debts is that there were extensive
    ‘hold lists’ during the relevant time.”) (citations omitted).
 478 VFB LLC v. Campbell Soup Co., 482 F.3d 624, 631 (3d Cir. 2007) (“True, earnings projections ‘must be

    tested by an objective standard anchored in [a] company’s actual performance,’ but such a test applies to
    information about a company’s performance available ‘when [the projection is] made.’”) (alterations in
    original) (quoting Moody v. Sec. Pac. Bus. Credit, Inc., 971 F.2d 1056, 1073 (3d Cir. 1992)).

                                                    VI-118
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                           (Part 3) Pg 29 of 40




 coming due and a debtor’s available liquidity must be evaluated in the context of the debtor’s
 financial projections:

                  A projection of the amount of liquidity available to the company
                  to meet its debt requirements is estimated . . . To calculate a
                  company’s liquidity available for debt repayment, the analyst
                  should project each of the following for several periods after the
                  transaction: (1) any excess cash on hand, (2) free cash flows
                  earned during each period, and (3) the company’s borrowing
                  availability on each due date to pay its debts.479

      Although courts may adopt a presumption that management’s projections were
 reasonable for these purposes,480 a historically consistent trend of significant variances
 between actual and projected cash flows rebuts the presumption.481 Additionally, whether a
 debtor was not paying debts as due in a timely manner (e.g., the company was stretching its
 payables, short paying its invoices, or holding checks) is a key indicator of intent.482 Whether
 a debtor has access to sufficient available liquidity to continue to pay debts as due over the
 relevant time period is also an important indicator of intent.

      Under the objective intent requirement, proof concerns are relaxed as the question
 becomes whether a debtor intended to incur or believed (or reasonably should have believed)
 that it would incur debts beyond its ability to pay as of the date of the challenged transfer.
 Many of the same factors employed in assessing inadequate capital are relevant indicators of a
 belief or reasonable basis to believe that a debtor could not pay its debts as they became due,
 but with a focus on liquidity, cash flows, risk, and shorter-term cash needs.
 479 ROBERT   F. REILLY & ROBERT P. SCHWEIHS, HANDBOOK OF ADVANCED BUSINESS VALUATION 341–42
    (1999).
 480 See, e.g., Cede & Co. v. JRC Acquisition Corp, No. Civ.A. 18648-NC, 2004 WL 286963, at *2 (Del. Ch.

    Feb. 10, 2004) (“Regardless of the methodology, however, this Court prefers valuations based on
    management projections available as of the date of the merger and holds a healthy skepticism for post-merger
    adjustments to management projections or the creation of new projections entirely. Expert valuations that
    disregard contemporaneous management projections are sometimes completely discounted.”) (citations
    omitted).
 481 See, e.g., Lids Corp. v. Marathon Inv. Partners, L.P. (In re Lids Corp.), 281 B.R. 535, 544 (Bankr. D. Del.

    2002) (“We . . . find that Houlihan has improperly relied on Lids’ projections to calculate value. Over the last
    few years, Lids has consistently failed to meet its projections; in 2000 alone, Lids’ budget was revised three
    times to account for poor performance. Despite these revisions, Lids still missed its projections for 2000.
    Furthermore, the Houlihan Report assumed that after October 31, 2000, when Lids’ EBITDA was negative
    $6,299,000, the company would nonetheless turn around. Houlihan relied on Lids’ projections that at FYE
    January 27, 2001, its EBITDA would increase to negative $3,456,000, and that at FYE January 26, 2002, its
    EBITDA would be positive $5,513,000. There is no evidence to support the assumption that such a dramatic
    change would occur. Therefore, any conclusions based on these projections are unconvincing.”).
 482 See, e.g., ASARCO, 396 B.R. at 399–400 (S.D. Tex. 2008) (evidence of intent included past-due debts, failing

    to pay vendors on time, and check hold lists).

                                                      VI-119
12-12020-mg        Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13         Section VI
                                         (Part 3) Pg 30 of 40




     3. Summary Of Examiner’s Conclusions

       The Investigation has not uncovered evidence that ResCap possessed a subjective intent
 to incur, or belief that it would incur, debts beyond its ability to pay as they became due. The
 Investigation also revealed no evidence that any officer or ResCap Board member possessed a
 subjective intent for ResCap to incur (or belief that ResCap would incur) debts beyond its
 ability to pay at the time from 2005 through the Petition Date.

       However, with respect to the objective intent element, the Examiner concludes that the
 evidence supports the proposition that ResCap reasonably should have believed that it would
 incur debts beyond its ability to pay from August 15, 2007 through the Petition Date. The
 Examiner rests this conclusion on a detailed quantitative and qualitative analysis of ResCap’s
 ability to service its debts from 2005 through the Petition Date, giving full consideration to
 resources reasonably available to ResCap (such as available liquidity, cash flows, committed
 credit lines, reasonable sources of capital, and monetization of non-core assets through sales)
 to meet its imminent financial needs and to repay or refinance its longer term obligations.

      Although the inadequacy of capital test and the inability to pay test consider many of the
 same indicators and factors, the two tests address two different questions—consequences of a
 debtor’s actions and the intent of a debtor’s actions. The issue of a debtor being left with
 unreasonably small capital involves an assessment of the consequences of a challenged
 transfer or obligation, including an assessment of risk, cash flows, and downside scenarios;
 whereas the issue of a debtor intending or believing that it is incurring debts that it cannot pay
 involves an assessment of intent (both subjective and objective) contemporaneous with the
 transfer or obligation, inferred from matching likely cash flow projections to debt maturities,
 past due payments, and other unusual credit or collection activity. Thus, both tests are
 designed to complement each other and, together with the Balance Sheet Test, capture
 transfers and obligations potentially harmful to the unsecured creditors of a bankruptcy estate.

     4. Analysis Of Ability To Pay Debts As Due

              a. Subjective Intent Inquiry

      ResCap’s perceived liquidity needs and its response to those needs are key indicators of
 ResCap’s intent. ResCap recognized it operated a liquidity-intensive business because of the
 volatility inherent in its assets and the dependence of its business model on access to liquid
 capital.483 ResCap, therefore, established detailed processes and procedures by which it
 managed its liquidity risk. Those processes and procedures are described in Section VI.C.
 ResCap actively managed its liquidity through, among other things, the development and
 implementation of a liquidity plan, matching short-term and long-term financing debt and
 asset classes, and diversifying sources of funds.

      ResCap also recognized that its credit rating was a critical factor in maintaining adequate
 liquidity. This was because of the effect its credit rating had on the cost and availability of
 483 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 76.



                                                    VI-120
12-12020-mg          Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VI
                                            (Part 3) Pg 31 of 40




 its existing facilities, and because of the potential effect its credit rating had on its ongoing
 access to the capital markets. Accordingly, an important component of ResCap’s strategy for
 managing its liquidity centered on ResCap’s commitment to maintain an investment grade
 credit rating. The importance of investment-grade credit ratings to ResCap’s liquidity and
 capital needs is discussed in Section VI.C.

      ResCap employed a number of mechanisms to monitor its liquidity and capital needs,
 with those mechanisms evolving over time. ResCap received liquidity support from its parent
 to pay its debts and, until December 2009, generally believed that this support would
 continue.484 Although the Examiner has concluded that ResCap was left with unreasonably
 small capital as of August 15, 2007 through the Petition Date, the totality of the circumstances
 does not support the proposition that ResCap possessed the specific intent or belief that it was
 incurring debts beyond its ability to pay such debts as they matured at any time from 2005
 through the Petition Date.

               b. Objective Intent Inquiry

       Under an objective intent assessment, the evidence supports the proposition that ResCap
 reasonably should have believed that it would incur debts beyond its ability to pay from
 August 15, 2007 through the Petition Date. For example, Thomas Jacob, an Independent
 Director, noted that he believed ResCap was in the zone of insolvency in “August 2007 when
 [ResCap] had this credit crunch.”485 Subsequently, on September 7, 2007, the law firm of
 Mayer Brown made a presentation to the ResCap Board centered on duties owed by a director
 to various constituencies when a company is in the “zone of insolvency.”486 Included in this
 presentation was advice concerning potential fraudulent transfers at a time of financial
 distress.487 Mayer Brown advised the ResCap Board that “if insolvency (or potentially a zone
 of insolvency) is present, the Company’s directors should carefully consider the
 disinterestedness and independence of directors . . . in the context of any proposed transaction
 among the Company . . . or any of [its] respective affiliates.”488
 484 See Int. of P. West, Jan. 11, 2013, at 101:2–6 (“We felt like it was getting less and less in their benefit to make

    that support. The closing of the books that year end was painful. And so, it was looking to us like that support
    was less and less forthcoming.”); id. at 102:2–9 (“Because it seemed very difficult for us to get that support at
    the end of the year. And frankly, the support that we got gave us very little, if no wiggle room at all . . . . And
    it was a month to month kind of support look and that becomes untenable at a certain point.”).
 485 Int. of T. Jacob, Nov. 7, 2012, at 197:1–6.

 486 Mayer Brown Presentation on Fiduciary Duties of Directors and Related Legal Issues, dated Sept. 7, 2007

    [RC40012695].
 487 Id. at RC40012721–23. Mayer Brown gave a similar presentation regarding directors’ fiduciary duties in

    distressed financial circumstances to the AFI Board in May 2008. See Minutes of a Special Meeting of the
    Board of Directors of GMAC LLC, May 30, 2008, at ALLY_PEO_0001080–81 [ALLY_PEO_0001009].
    Independent Director Jacob stated that he believed ResCap had neared the “zone of insolvency” in August
    2007, shortly before Mayer Brown gave its fiduciary duty presentation to the ResCap Board. Int. of T. Jacob,
    Nov. 7, 2012, at 197:1–198:25.
 488 Mayer Brown Presentation on Fiduciary Duties of Directors and Related Legal Issues, dated Sept. 7, 2007, at

    RC40012726 [RC40012695].

                                                        VI-121
12-12020-mg           Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                            (Part 3) Pg 32 of 40




      Timothy Pohl, a ResCap advisor, stated that “ResCap was undercapitalized” after the
 dramatic changes in 2007 and 2008 that affected the mortgage industry.489 He further stated
 that ResCap was facing potential liquidity, covenant, and bond maturity issues in the near
 future that could trigger the need for ResCap to file for bankruptcy around May 2008.490
      On September 23, 2008, Lazard advised “ResCap’s balance sheet and current liquidity
 situation place it within the zone of insolvency and . . . the best course of action for the
 Directors is to act as if the company were insolvent and consider the best interest of all its
 creditors.”491 By October 2008, the ResCap Board was presented with various materials
 regarding pre-bankruptcy planning.492 Bankruptcy planning was discussed again by the
 ResCap Board in June and July, 2009.493
      In 2010 and 2011, AFI’s advisors and officers made periodic presentations to the ResCap
 Board reflecting AFI’s deliberations about ResCap’s future.494 On November 5, 2010, Michael
 Constantino of AFI’s Capital Markets Group reported on the results of a bidding process
 organized by AFI for the sale of ResCap’s assets.495 Notably, the materials presented by
 Constantino to the ResCap Board indicated that all three potential bids implied a transaction
 loss and negative cash at closing of a sale, suggesting a market view of ResCap’s financial
 distress.496
     In addition to the observations by advisors to the ResCap Board and the AFI Board about
 zone of insolvency and insolvency concerns, a number of other facts and circumstances
 support the Examiner’s conclusion of an inability to pay debts on an objective basis.
            •   First, as previously detailed in Section VI.C, ResCap had intensive liquidity needs
                and experienced challenges, stresses, and chronic liquidity shortfalls from
 489 Int. of T. Pohl, Feb. 26, 2013, at 23:11–16.

 490 Int. of T. Pohl, Feb. 26, 2013, at 25:4–17.

 491 Minutes of a Meeting of an Executive Session of the Board of Residential Capital, LLC, Sept. 23, 2008, at

    RC40006865 [RC40006865].
 492 See, e.g., Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 8, 2008, at

    RC40005877-78 [RC40005652]; Minutes of a Special Meeting of the Board of Directors of Residential
    Capital, LLC, Oct. 10, 2008, at RC40005880–81 [RC40005652]; Minutes of a Special Meeting of the Board
    of Directors of Residential Capital, LLC, Oct. 17, 2008, at RC40005884–85 [RC40005652]; Minutes of a
    Meeting of the Board of Directors of Residential Capital, LLC, Oct. 20, 2008, at RC40005887–88
    [RC40005652]; Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 23,
    2008, at RC40005891–93 [ RC40005652].
 493 See, e.g., Project Scout II Presentation, Jun. 10, 2009, at RC40011255–59 [RC40011250]; Lazard Project

    Scout II Presentation, dated Jul. 2009, at RC40010900 [RC40010890].
 494 See,e.g., Mercer Oliver Wyman, Citibank & Goldman Sachs “Strategic Evaluation of AFI’s Mortgage
    Business” Presentation, dated Apr. 30, 2010 [EXAM10424634].
 495 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 5, 2010, at
    RC40018846 [RC40018729].
 496 MortgageStrategic Alternatives Presentation, dated Oct. 29, 2010, at RC40016894, RC40016897–98
    [RC40016871].

                                                      VI-122
12-12020-mg         Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                          (Part 3) Pg 33 of 40




            August 15, 2007, through the Petition Date. By August 21, 2007, the ResCap Board
            had been made aware that liquidity issues were affecting ResCap’s operations.497
            Thereafter, most ResCap Board meetings included a discussion of ResCap’s
            liquidity position. By June 2009, the ResCap Board was meeting daily to manage
            liquidity issues.

        •   Second, the capital intensive nature of ResCap’s business and the volatility of
            ResCap’s assets exacerbated and amplified the liquidity shortfalls and stresses.

        •   Third, because of its liquidity and leverage concerns, ResCap was unreasonably
            vulnerable to risks associated with changes in the credit markets, industry, and
            economy.

        •   Fourth, the global credit markets experienced a significant dislocation on or about
            August 9, 2007, impairing ResCap’s access to the capital markets and virtually
            eliminating its access to the secondary securitization markets.
        •   Fifth, the deterioration of its once-investment grade credit rating also left ResCap in
            a precarious financial position, especially in consideration of its business plan and
            needs for capital.

        •   Sixth, an analysis of baseline cash flow projections in ResCap’s ELRs498 indicated
            that in each of its projections prepared quarterly from December 2007 through April
            2012, ResCap projected negative or minimal net cash flows over the subsequent 12
            months.

        •   Seventh, ResCap entered the industry downturn commencing in 2006 in a highly-
            leveraged position. ResCap incurred significant losses as it reduced its business and
            equity base to a fraction of its pre-downturn levels while the industry downturn
            progressed. ResCap’s reported equity as of December 31, 2011, was only 1.2% of its
            December 31, 2005 balance.499 ResCap was unable to service its fixed charges,
            primarily interest expense, from its operating income in 2006 through 2009, and
            again in 2011.500




 497 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 21, 2007, at

    RC40005617 [RC40005558].
 498 The Executive Liquidity Report, or ELR, as discussed further in Section VI.C.4.f, was a report developed and

    utilized by ResCap management along with its Board to analyze ResCap’s current liquidity position, as well
    as its forecasted liquidity for the ensuing twelve month period.
 499 Compare Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2006), at 94, with Residential

    Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010, dated
    Mar. 28, 2012, at 4 [EXAM00122651].
 500 See Exhibits VI.C.4.f(3)(b)—1 and VI.C.4.f(3)(b)—2



                                                     VI-123
12-12020-mg        Doc 3698-19        Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VI
                                        (Part 3) Pg 34 of 40




        •   Eighth, ResCap’s ability to prepare reliable financial projections was negatively
            affected after 2006 because of, among other factors, the rapid deterioration within its
            businesses and the concomitant deterioration within the mortgage industry and
            global economy. This is evident in the significant variance between ResCap’s actual
            results as compared to its financial projections, thus exacerbating liquidity and
            performance concerns.
        •   Finally, AFI’s financial support was critical to ResCap’s survival from 2007 through
            the Petition Date. Recognizing that ResCap’s risk profile had worsened with the
            corresponding decline in the residential mortgage industry in 2007 and 2008, AFI
            engaged in an ongoing process of infusing capital and/or liquidity into ResCap to
            avoid imminent covenant or payment defaults. However, such infusions were
            insufficient to address the chronic undercapitalization that commenced on or about
            August 15, 2007, and continued through the Petition Date, all as fully analyzed in
            Section VI.C.
 E. FINANCIAL CONDITION TESTS AS APPLIED TO RESCAP’S SUBSIDIARIES
     1. Introduction
      ResCap was a holding company for a number of direct and indirect subsidiaries including
 RFC and GMAC Mortgage, its principal operating subsidiaries. These subsidiaries conducted
 ResCap’s mortgage-related businesses, which comprised the vast majority of ResCap’s overall
 business activities. Because certain potential claims and causes of action discussed in Section
 VII would be asserted by ResCap’s subsidiaries for the benefit of their separate estates and
 creditors (as distinct from those of ResCap), the Examiner analyzed the three disjunctive
 financial condition tests discussed above as to RFC and GMAC Mortgage.
     2. Summary Of Examiner’s Conclusions
      The Examiner concludes that the evidence supports the proposition that RFC and GMAC
 Mortgage each was balance sheet solvent and adequately capitalized on May 4, 2005, the date
 that AFI announced the capitalization of ResCap.501 The Examiner concludes that the evidence
 supports the proposition that RFC and GMAC Mortgage each: (1) was balance sheet insolvent
 from December 31, 2007 through the Petition Date; (2) had unreasonably small capital from
 August 15, 2007 through the Petition Date; and (3) reasonably should have believed that it
 would incur debts beyond its ability to pay from August 15, 2007 through the Petition Date.
      Based on an analysis of certain financial and factual information made available to the
 Examiner, the Examiner determined that the financial condition of RFC and GMAC Mortgage
 could be reasonably estimated from 2005, through the Petition Date through: (1) a detailed
 analysis of the financial condition and operating results of ResCap on a consolidated basis,
 recognizing ResCap had no significant operations separate and apart from its subsidiaries;
 (2) an assessment as to the relative size and operating performance of RFC and GMAC
 Mortgage, as reflected in ResCap’s consolidated financial statements and subsidiary trial
 501 General Motors Acceptance Corporation, Current Report (Form 8-K) (May 4, 2005), Ex. 99.1.



                                                   VI-124
12-12020-mg      Doc 3698-19      Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                    (Part 3) Pg 35 of 40




 balances; (3) an assessment of various intercompany receivables and/or payables, between and
 among ResCap, RFC, GMAC Mortgage, and their respective subsidiaries; (4) an evaluation of
 the nature and timing of certain intercompany account activity between and among ResCap,
 RFC, GMAC Mortgage, and their respective subsidiaries; (5) consideration of potential
 contingent and/or unliquidated liabilities, including those arising from certain RFC and
 GMAC Mortgage guarantee obligations; and (6) consideration of the effects of industry and
 economic conditions on RFC and GMAC Mortgage over the relevant time period.
    3. Analysis Of Separate Subsidiary Financial Distress
            a. Solvency
      As previously discussed, an assessment of balance sheet solvency requires an assessment
 of whether the sum of a debtor’s debts exceeds its assets, at a “fair valuation.” Two additional
 important issues arise when evaluating the solvency of subsidiaries. First, it is common in
 large companies that affiliates share liquidity through a centralized cash management system
 implemented through an overall treasury policy. Fund transfers between affiliates are
 generally recorded through intercompany accounts, including payables/receivables, due to/due
 from accounts, and, in some instances, notes payables/notes receivables. Because these
 intercompany transfers are generally eliminated in consolidation, there is often a question of
 how reliable and accurate the internal accounting has been and whether the intercompany
 accounting reflects a reasonable and fair depiction of the relationships between the affiliates.
 Moreover, because there are potentially thousands of intercompany transfers occurring over a
 given time period, it is often impractical to attempt to untangle the web of intercompany
 accounts such that reliable separate entity financial statements can be reconstructed for
 purposes of assessing a subsidiary’s solvency. Further, a full forensic analysis of
 intercompany transfers between ResCap and its subsidiaries is not contemplated by the
 Examiner Scope Approval Order. Second, contingent liabilities, such as obligations under any
 guaranties by subsidiaries or a parent, must be reasonably estimated and that amount then
 reduced by any corresponding offsets arising from the value of any equitable rights that may
 be exercised by a guarantor, including rights of reimbursement against the primary obligor and
 contribution against any co-guarantors.
      The Examiner’s Financial Advisors determined that the ability of ResCap to fund RFC,
 GMAC Mortgage, and their respective subsidiaries from its own resources and sources of
 capital was significantly impaired from August 15, 2007 through the Petition Date. RFC and
 GMAC Mortgage each reported significant intercompany receivables due from their
 subsidiaries at various times over the relevant time period. An analysis of intercompany
 receivables must necessarily consider their collectability. The intercompany activity between
 RFC and GMAC Mortgage and their subsidiaries primarily represented advances to fund
 capital needs and operating deficits. Based on a review of RFC’s and GMAC Mortgage’s
 general ledgers, the intercompany receivables due to RFC and GMAC Mortgage from their
 subsidiaries were impaired from August 15, 2007 through the Petition Date. These
 subsidiaries required significant capital contributions in the form of intercompany advances
 from RFC and GMAC Mortgage to cover operating losses commencing in 2007. The
 Investigation revealed no evidence that either RFC’s or GMAC Mortgage’s subsidiaries
                                             VI-125
12-12020-mg         Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VI
                                          (Part 3) Pg 36 of 40




 possessed the capability, individually or in the aggregate, to repay these receivables
 subsequent to August 15, 2007. The need for capital by these subsidiaries increased as the
 credit crisis and global financial crisis intensified, resulting in the ultimate forgiveness of
 billions of dollars in intercompany obligations throughout the consolidated enterprise.
      Turning to an assessment of RFC’s and GMAC Mortgage’s contingent liabilities arising
 from guarantee obligations, ResCap had issued $15.3 billion in public debt guaranteed by
 RFC and GMAC Mortgage as of December 31, 2007.502 RFC and GMAC Mortgage served as
 guarantors of this public debt until June 2008. GMAC Mortgage disclosed this contingency in
 its annual financial statements.503 Additionally, in June 2008, ResCap issued approximately
 $5.7 billion of senior and junior secured notes in exchange for approximately $8.6 billion of
 ResCap unsecured notes.504 RFC and GMAC Mortgage, among other ResCap subsidiaries,
 served as guarantors on these debts,505 and both disclosed this contingency in their annual
 financial statements.506
      RFC and GMAC Mortgage also served as guarantors on certain unsecured revolving
 lines of credit and an unsecured term loan that ResCap maintained with various third-party
 lenders from June 2005 to June 2008.507 In June 2008, ResCap’s unsecured revolving lines of
 credit and unsecured term loan were refinanced. As part of that refinancing, AFI provided a
 $3.5 billion facility to RFC and GMAC Mortgage, secured by the assets of RFC and GMAC
 Mortgage.508 In summary, both RFC and GMAC Mortgage guaranteed ResCap’s unsecured
 public debt and unsecured line of credit/term loan facilities through June 2008.
      These contingent liabilities—and any corresponding equitable rights—should be
 considered in any application of the financial distress tests to the two subsidiaries. The
 Examiner’s Financial Advisors determined that these contingent liabilities would only worsen
 already existing conditions of financial distress at RFC and GMAC Mortgage. As upstream
 guarantors, RFC’s and GMAC Mortgage’s assets were at risk, and there existed little to no
 502 See, e.g., Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 81; Residential Capital

    Corporation, Registration Statement (Form S-4) (July 15, 2005), Ex. 4.1 (ResCap Indenture, dated Jun. 24,
    2005) (reflecting GMAC Mortgage and RFC as guarantors of ResCap’s obligations).
 503 GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2007

    and 2006, dated Mar. 25, 2008, at 50 [EXAM00232043].
 504 Residential Capital, LLC, Amend. No. 1 to Annual Report (Form 10-K/A) (Aug. 25, 2009), at 100.

 505 See Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), Ex. 4.3 (8.5% Senior Secured

    Guaranteed Notes Indenture, dated June 6, 2008) (reflecting GMAC Mortgage and RFC as guarantors);
    Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), Ex. 4.4 (9.625% Junior Secured
    Guaranteed Notes Indenture, dated June 6, 2008) (reflecting GMAC Mortgage and RFC as guarantors).
 506 See, e.g., GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December

    31, 2008 and 2007, dated Mar. 25, 2009, at 69 [EXAM00126182]; Residential Funding Company, LLC
    Consolidated Financial Statements as of and for the Years Ended December 31, 2008 and 2007, Mar. 25,
    2009, at 77 [EXAM00124988].
 507 See Subsidiary Guarantee Agreement, dated July 28, 2005, [EXAM00345139] (reflecting GMAC Mortgage

    and RFC as guarantors of ResCap’s obligations, in favor of JPMorgan).
 508 Residential Capital, LLC, Current Report (Form 8-K) (Mar. 13, 2007), Ex. 99.1.



                                                    VI-126
12-12020-mg         Doc 3698-19         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                          (Part 3) Pg 37 of 40




 value in the right of reimbursement against ResCap. From August 15, 2007, ResCap was
 inadequately capitalized and also reasonably should have believed that it would incur debts
 beyond its ability to pay as they became due, and from December 31, 2007, ResCap was
 insolvent under the Balance Sheet Test. Thus, while the guarantees were in effect, ResCap, as
 the primary obligor on the guaranteed indebtedness, was in financial distress, rendering any
 right of reimbursement against it of little to no value.

      The Examiner observes that certain guarantee agreements, though creating joint and
 several liability of RFC and GMAC Mortgage, had both “contribution” and “savings” clauses
 to prevent a contingent liability under the guarantee from causing RFC or GMAC Mortgage to
 become insolvent or be rendered insolvent.509 Notwithstanding the recent debate concerning
 the enforceability of these types of savings clauses in guarantee agreements, the Examiner
 concludes that the evidence supports the proposition that RFC and GMAC Mortgage were
 each insolvent from December 31, 2007 through the Petition Date.

              b. Unreasonably Small Capital

      Where a parent company is left with “unreasonably small capital” to operate its business,
 it logically follows that its subsidiaries will be inadequately capitalized absent their own
 independent sources of funds. This observation is generally supported in those cases where the
 corporate group maintains a centralized cash management system or where there is direct or
 indirect funding support from a parent to its subsidiaries or affiliates.510 In both situations, a
 parent’s access to capital and its present capital condition serve as the primary, if not
 exclusive, source of capital for its direct and indirect subsidiaries.

      RFC and GMAC Mortgage maintained secured financing arrangements with third-party
 lenders through the Petition Date that provided advances for originating and acquiring
 mortgage assets for subsequent sale or securitization,511 but both relied on ResCap (and
 ultimately AFI) for unsecured credit facilities and equity infusions to cover any shortfall in the




 509 See, e.g., Residential Capital Corporation, Registration Statement (Form S-4) (Jul. 15, 2005), Ex. 4.1, at

    56–57 (ResCap Indenture, dated Jun. 24, 2005, §§ 14.03, 14.05).
 510 See Teleglobe USA, Inc. v. BCE Inc. (In re Teleglobe Commc’ns Corp.), 392 B.R. 561, 602–03 (Bankr.

    D. Del. 2008) (holding that the test for subsidiary solvency should not exclude “the funding support actually
    given” by the immediate corporate parent until the point when it would no longer be reasonable to expect such
    support).
 511 ResidentialFunding Company, LLC Consolidated Financial Statements as of and for the Years Ended
    December 31, 2008 and 2007, dated Mar. 25, 2009, at 36 [EXAM00124988]; Residential Funding Company,
    LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2010 and 2009, dated
    Mar. 10, 2011, at 36 [EXAM00123277]; GMAC Mortgage, LLC Consolidated Financial Statements as of and
    for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009, at 32 [EXAM00126182]; GMAC
    Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2010 and
    2009, dated Mar. 10, 2011, at 34 [EXAM00123214].

                                                    VI-127
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                           (Part 3) Pg 38 of 40




 advance rates provided by the secured facilities and to fund operating deficits.512 Further,
 ResCap and its subsidiaries shared liquidity through a centralized cash management system.513
 ResCap’s inadequate capitalization therefore reverberated through its subsidiaries, including
 RFC and GMAC Mortgage.

      RFC and GMAC Mortgage experienced similar consequences from the dislocation in the
 capital and secondary mortgage markets in August 2007. At that time, the market for
 securitizations of subprime, Alt-A, and otherwise non-conforming loans was virtually
 closed.514 GMAC Mortgage was left predominantly with government agencies as a purchaser
 of conforming-only product.515 Commercial paper conduits closed and short-term funding
 sources were very limited. Additionally, certain HFS loans had to be reclassified to HFI loans
 because there was no market channel available to sell the product. RFC was also
 hemorrhaging cash as margin calls were mounting. In fact, “all hands [were] on deck” in
 Minneapolis over the summer of 2007 to find possible solutions to the liquidity crisis.516
 Further, both companies reported significant losses in the third quarter of 2007, requiring them
 to obtain financial support from ResCap,517 which, as discussed in Sections VI.B through
 VI.D, was itself undercapitalized at that time.




 512 Compare  GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended
    December 31, 2009 and 2008, dated Mar. 19, 2010, at 31 [EXAM00124578] and Residential Funding
    Company, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2009 and
    2008, dated Mar. 19, 2010, at 31 [EXAM00124670], with GMAC Mortgage, LLC Consolidated Financial
    Statements as of and for the Years Ended December 31, 2007 and 2006, dated Mar. 25, 2008, at 33
    [EXAM00232043] and Residential Funding Company, LLC Consolidated Financial Statements as of and for
    the Years Ended December 31, 2007 and 2006, dated Mar. 26, 2008, at 31 [EXAM00231913], respectively.
    See also Residential Funding Company, LLC Consolidated Financial Statements as of and for the Years
    Ended December 31, 2008 and 2007, dated Mar. 25, 2009, at 40 [EXAM00124988]; Int. of W. Casey, Jan. 31,
    2013, at 143:14–21; Int. of S. Ramsey, Dec. 10, 2012, at 82:14–20; Int. of J. Lombardo, Mar. 18, 2013, at
    19:18–20:2; Goldin Associates Presentation to the Committee of Independent Members of the Board of
    Directors of Residential Capital, LLC Regarding Proposed Amendment to the Secured Line of Credit with
    GMAC, LLC, dated Dec. 19, 2008, at GOLDIN00129114 [GOLDIN00129101].
 513 See Affidavit of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Support of Chapter

    11 Petitions and First Day Pleadings [Docket No. 6] at 53.
 514 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Feb. 27,

    2008), at 23, http://www.federalreserve.gov/monetarypolicy/files/20080227_mprfullreport.pdf.
 515 Id.

 516 See Int. of W. Casey, Jan. 31, 2013, at 41:23–42:13.

 517 ResidentialFunding Company, LLC Consolidated Financial Statements as of and for the Years Ended
    December 31, 2007 and 2006, dated Mar. 26, 2008, at 53 [EXAM00231913]; GMAC Mortgage, LLC
    Consolidated Financial Statements as of and for the Years Ended December 31, 2007 and 2006, dated
    Mar. 25, 2008, at 5 [EXAM00232043].

                                                      VI-128
12-12020-mg         Doc 3698-19          Filed 05/13/13 Entered 05/13/13 17:08:13                 Section VI
                                           (Part 3) Pg 39 of 40




      The credit markets were virtually closed to ResCap for new financing in 2008. Existing
 lenders were unwilling to extend credit facilities beyond current maturities.518 As a result, AFI
 became the lender of last resort for RFC and GMAC Mortgage, as well as ResCap LLC. From
 April 2008 to the Petition Date, AFI extended secured credit facilities to both RFC and
 GMAC Mortgage.519 RFC and GMAC Mortgage were unable to fund their operations with
 third-party unsecured credit facilities during this period.520 In essence, RFC and GMAC
 Mortgage were no longer bankable entities. ResCap, itself inadequately capitalized, became
 the sole source of unsecured funding for RFC and GMAC Mortgage. The existence of both the
 public debt and line of credit/term loan guaranties prior to June 2008, and the guarantees
 under ResCap’s secured public debt after June 2008,521 served as both liabilities in an
 economic sense and debt overhang, dissuading any third-party funding and exacerbating their
 precarious financial condition. Based on the facts and circumstances, the Examiner concludes
 that the evidence supports the proposition that RFC and GMAC Mortgage each had
 unreasonably small capital from August 15, 2007 through the Petition Date.

              c. Ability To Pay Debts As Due

       The Investigation has not uncovered evidence that RFC or GMAC Mortgage possessed a
 subjective intent to incur, or belief that it would incur, debts beyond its ability to pay as they
 became due. Further, neither RFC nor GMAC Mortgage had independently acting boards of
 directors, but rather each depended on the ResCap Board for supervision. The Investigation
 has not uncovered evidence that the ResCap Board intended for either RFC or GMAC
 Mortgage to incur debts beyond its ability to pay. Nevertheless, the Examiner concludes that
 the evidence supports the proposition that RFC and GMAC Mortgage each reasonably should
 have believed it would incur debts beyond its ability to pay from August 15, 2007 through the
 Petition Date.

    This finding is based on the issues discussed in Section VI.D as applied to RFC and
 GMAC Mortgage and their respective obligations within the consolidated enterprise. RFC and
 518 See Int. of W. Casey, Jan. 31, 2013, at 143:14–21.

 519 ResidentialCapital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 98; Residential Capital, LLC
    Consolidated Financial Statements as of and for the Years Ended December 31, 2009 and 2008, dated Feb. 26,
    2010, at 42–43 [EXAM00124455]; Residential Capital, LLC Consolidated Financial Statements as of and for
    the Years Ended December 31, 2010 and 2009, dated Feb. 28, 2011, at 39 [EXAM00123128]; Residential
    Capital, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2011 and 2010,
    dated Mar. 28, 2012, at 38–39 [EXAM00122651].
 520 ResCap Bond Exchange Accounting Assessment, dated July 1, 2008, at ALLY_0242724 [ALLY_0242723];

    Int. of W. Casey, Jan. 31, 2013, at 143:14–21; Int. of S. Ramsey, Dec. 10, 2012, at 82:14–20; Int. of
    J. Lombardo, Mar. 18, 2013, at 19:18–20:2; Goldin Associates Presentation to the Committee of Independent
    Members of the Board of Directors of Residential Capital, LLC Regarding Proposed Amendment to the
    Secured Line of Credit with GMAC, LLC, dated Dec. 19, 2008, at GOLDIN00129114 [GOLDIN00129101].
 521 GMAC Mortgage, LLC Consolidated Financial Statements as of and for the Years Ended December 31, 2008

    and 2007, dated Mar. 25, 2009, at 69 [EXAM00126182]; Residential Funding Company, LLC Consolidated
    Financial Statements as of and for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009, at 77
    [EXAM00124988].

                                                      VI-129
12-12020-mg        Doc 3698-19      Filed 05/13/13 Entered 05/13/13 17:08:13              Section VI
                                      (Part 3) Pg 40 of 40




 GMAC Mortgage each received substantial capital infusions from ResCap, which was itself in
 financial distress as discussed above.522 RFC and GMAC Mortgage were each dependent on
 payment of amounts due from its subsidiaries. Each of these subsidiaries had increasing
 operating deficits, making it unlikely that the subsidiaries would be capable of repaying either
 RFC or GMAC Mortgage, as the case may be. Finally, AFI’s financial support enabled
 ResCap, RFC, and GMAC Mortgage to continue operations from 2007 through the Petition
 Date. AFI infused capital and/or liquidity into ResCap, and through ResCap’s centralized cash
 management system, to RFC and GMAC Mortgage, to avoid imminent covenant or payment
 defaults. However, such infusions were insufficient to address the chronic undercapitalization
 of ResCap, RFC, and GMAC Mortgage that commenced on or about August 15, 2007 through
 the Petition Date, all as fully discussed in Section VI.C.




 522 ResidentialFunding Company, LLC Consolidated Financial Statements as of and for the Years Ended
    December 31, 2007 and 2006, dated Mar. 26, 2008, at 53 [EXAM00231913]; GMAC Mortgage, LLC
    Consolidated Financial Statements as of and for the Years Ended December 31, 2007 and 2006, dated
    Mar. 25, 2008, at 5 [EXAM00232043].

                                               VI-130
